Case: 2:17-cv-OOOOG-CDP Doc. #: 1-18 Filed: 01/31/17 Page: 1 of 2 Page|D #: 74

AO 440 (Rev. 12!09) Summons in a Civi| Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Missouri

ROBERT G. MONGLER

 

P¢'a:`m:]}”

v. Civil Action No. 2:17-CV-00006
BR|AN KN|GHT. ET AL.

 

Defendant

SUMIMONS IN A CIVIL ACTION

TOZ (Defendan!’s name and oddre.s's) §§;?“A'|<r:"%%ljrmwcs' [NC’
8 TREGONWELL COURT
ALGONQU|N. IL 60102

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -» or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address acre: DONALD J‘ SCHUTZl ESQ.

535 CENTRAL AVENUE

ST. PETERSBURG, FL 33701
72?'-823-3222
don@|awus.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must tile your answer or motion with the court.

CLERK OF COURT

-----.-_.._.____

 

S:'gnn:nre ofC'ier!c or Deputy Clerk

 

Case: 2:17-cv-OOOOG-CDP Doc. #: 1-18 Filed: 01/31/17 Page: 2 of 2 Page|D #: 75

AO 440 {Rcv. 12)'09} Summons in a Civil Action {Page 2}
Civil Action No. 2:17-CV-00006

PROOF OF SERVICE
(Thr's section should not bcf:`led with the court unless required by Fed. R. Cr'v. P. 4 (!))

Ti'tis Sl.ll'nl'non$ for (nome of individual and rft£'e, {`funy)

 

was received by me on (dare)

 

Cl l personally served the summons on the individual at galece)

 

011 (dote) ; 01‘

 

CI l left the summons at the individual’s residence or usual place of abode with (name)

 

, a person of suitable age and discretion who resides there,

on (dare) , and mailed a copy to the individual’s last known address; or

 

 

|Zl I served the summons on (name ofrndrvrdaa¢') , who is

 

designated by law to accept service of process on behalf of (name aforgaaizarion)

 

on (dare) ; or

 

Cl I returned the summons unexecuted because ; or

 

l:l Ol;her (spec{`,.j),l:

My fees are $ for travel and $ for services, for a total of $ 0 00

I declare under penalty of perjury that this information is true.

Date:

 

Se:'ver ’s signature

 

Pr£nred name and title

 

Server 's address

Additional information regarding attempted service, etc:

 

